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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,

                   Plaintiffs,

     v.                                                     Civil Action
                                                            No. 5:21-cv-844-XR
GREGORY W. ABBOTT, et al.,

                   Defendants.

                  DEFENDANT JOHN CREUZOT’S
              NOTICE REGARDING MOTION IN LIMINE

     Defendant John Creuzot, Criminal District Attorney of Dallas

County, Texas, pursuant to the text Order entered on August 23, 2023,

hereby submits that Defendant Creuzot will not file a motion in limine.

Nothing in this notice is to be construed as an admission of any allegation

against Defendant Creuzot in this action and Defendant Creuzot reserves

all applicable defenses.


Dated: September 1, 2023             Respectfully submitted,

                                     JOHN CREUZOT
                                     CRIMINAL DISTRICT ATTORNEY
                                     DALLAS COUNTY, TEXAS
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                                  Attorneys for Defendant John
                                  Creuzot, in his official capacity
                                  as the Criminal District Attorney
                                  of Dallas County, Texas

                          Certificate of Service

     I certify that on September 1, 2023, Defendant John Creuzot’s
Notice Regarding Motion in Limine was served through PACER on
counsel and staff designated to receive notice.

                                  /s/ Ben L. Stool
                                  Assistant District Attorney
